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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

UNITED STATES OF AMERICA

v.                                              Case Number: 4:19−cr−00693

Leonard Carr



                               NOTICE OF RESETTING

A proceeding has been reset in this case as to Leonard Carr as set forth below.

Before the Honorable Alfred H Bennett
PLACE:
Courtroom 8C
United States District Court
515 Rusk Street
Houston, TX 77002


DATE: 5/12/2022
TIME: 10:00 AM
TYPE OF PROCEEDING: Sentencing


Date: March 12, 2022                                         Nathan Ochsner, Clerk
